Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 1 of 8




                                                                          001
Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 2 of 8




                                                                          002
Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 3 of 8




                                                                          003
Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 4 of 8




                                                                          004
Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 5 of 8




                                                                          005
Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 6 of 8




                                                                          006
Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 7 of 8




                                                                          007
Case 2:90-cv-00520-KJM-SCR   Document 4278-1   Filed 01/07/13   Page 8 of 8




                                                                          008
